 4:18-cr-03013-RGK-CRZ      Doc # 16    Filed: 01/27/18   Page 1 of 2 - Page ID # 25




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
              Plaintiff,
                                                    CASE NO: 4:18CR3013
      vs.

MARSHAL MARSHALL,                                    DETENTION ORDER
             Defendant.



      The defendant, if released, poses a serious risk of obstructing or
attempting to obstruct justice. On the government's motion, the court held a
detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f). The court
concludes the defendant must be detained pending trial.

      Based on the evidence presented and information of record, the court finds
by clear and convincing evidence that the defendant's release would pose a risk
of harm to the public

      Specifically, the court finds that the defendant has a criminal history of
violating the law and court orders; violated conditions of release previously
imposed by a court; has a history of harming or threatening harm to others,
including escalating threats of violence, stalking, installing listening devices, and
intrusion into his estranged wife’s home even after receiving warnings from law
enforcement officers; possesses firearms; abuses mood-altering chemicals and
is likely to continue such conduct and violate the law if released; was not truthful
with pretrial services during his interview regarding the use of controlled
substances and therefore poses a substantial risk of noncompliance with
supervision; has failed to appear for court proceedings in the past; and conditions
which restrict Defendant’s travel, personal contacts, and possession of drugs,
alcohol, and/or firearms; require reporting, education, employment, or treatment;
 4:18-cr-03013-RGK-CRZ       Doc # 16    Filed: 01/27/18   Page 2 of 2 - Page ID # 26




or monitor Defendant’s movements or conduct; or any combination of these
conditions or others currently proposed or available (see 18 U.S.C. § 3142(c)),
will not sufficiently ameliorate the risks posed if the defendant is released.

                          Directions Regarding Detention

      The defendant is committed to the custody of the Attorney General or a
designated representative for confinement in a corrections facility separate, to
the extent practicable, from persons awaiting or serving sentences or held in
custody pending appeal. The defendant must be afforded a reasonable
opportunity to consult privately with defense counsel. On order of the United
States Court or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to the United States
marshal for a court appearance.

      Dated January 27, 2018.

                                              BY THE COURT:
                                              s/ Cheryl R. Zwart
                                              United States Magistrate Judge
